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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISON
    SOPHIA GRUBB individually and on                      Case No.:
    behalf of all others similarly situated,
                                                          COMPLAINT – CLASS ACTION
    Plaintiff,
    v.
    ALERA GROUP, INC.,                                     JURY TRIAL DEMANDED
    Defendant.




           Plaintiff Sophia Grubb (“Plaintiff”), on behalf of all others similarly situated, by and

through her undersigned counsel, brings this Class Action Complaint against Alera Group, Inc.

(“Defendant”). Plaintiff alleges the following upon information and belief based on and the

investigation of counsel, except as to those allegations that specifically pertain to Plaintiff, which

are alleged upon personal knowledge.

                                              INTRODUCTION

           1.     Plaintiff and the proposed Class Members bring this class action lawsuit on behalf

of all persons who entrusted Defendant with sensitive Personally Identifiable Information (“PII” 1

or “Private Information”) that was impacted in a data breach that Defendant publicly disclosed in

May 22, 2025 (the “Data Breach” or the “Breach”).

           2.     Plaintiff’s claims arise from Defendant’s failure to properly secure and safeguard

Private Information that was entrusted to it, and its accompanying responsibility to store and

transfer that information.



1
  Personally identifiable information generally incorporates information that can be used to distinguish or trace an
individual’s identity, either alone or when combined with other personal or identifying information. 2 C.F.R. § 200.79.
At a minimum, it includes all information that on its face expressly identifies an individual.


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        3.       Defendant is a national insurance and financial services firm that provides

solutions in employee benefits, property and casualty insurance, retirement plan services, and

wealth management.

        4.       Defendant had numerous statutory, regulatory, contractual, and common law

duties and obligations, including those based on its affirmative representations to Plaintiff and

Class Members, to keep their Private Information confidential, safe, secure, and protected from

unauthorized disclosure or access.

        5.       In August 2024, Defendant detected unusual activity on its IT Network. 2 In

response, Defendant launched an investigation to determine the nature and scope of the Data

Breach.3 Defendant’s investigation determined that between July 19, 2024, and August 4, 2024,

Private Information contained on its IT Network was removed. 4

        6.       Upon information and belief, Defendant’s investigation determined that the

Private Information compromised in the Data Breach included: name, date of birth, and Social

Security number.5

        7.       On May 22, 2025, Defendant made a public disclosure about the Data Breach and

began sending notice emails to individuals impacted. 6

        8.       Defendant failed to take precautions designed to keep individuals’ Private

Information secure.

        9.       Defendant owed Plaintiff and Class Members a duty to take all reasonable and

necessary measures to keep the Private Information collected safe and secure from unauthorized

access. Defendant solicited, collected, used, and derived a benefit from the Private Information,

yet breached its duty by failing to implement or maintain adequate security practices.




2
  Exhibit 1: Sophia Grubb’s Notice Email.
3
  Id.
4
  Id.
5
  Id.
6
  Id.


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          10.   Defendant admits that information in its system was accessed by unauthorized

individuals, though it provided little information regarding how the Data Breach occurred.

          11.   The sensitive nature of the data exposed through the Data Breach signifies that

Plaintiff and Class Members have suffered irreparable harm. Plaintiff and Class Members have

lost the ability to control their private information and are subject to an increased risk of identity

theft.

          12.   Defendant, despite having the financial wherewithal and personnel necessary to

prevent the Data Breach, nevertheless failed to use reasonable security procedures and practice

appropriate to the nature of the sensitive, unencrypted information it maintained for Plaintiff and

Class Members, causing the exposure of Plaintiff’s and Class Members’ Private Information.

          13.   As a result of Defendant’s inadequate digital security and notice process,

Plaintiff’s and Class Members’ Private Information was exposed to criminals. Plaintiff and the

Class Members have suffered and will continue to suffer injuries including: financial losses

caused by misuse of their Private Information; the loss or diminished value of their Private

Information as a result of the Data Breach; lost time associated with detecting and preventing

identity theft; and theft of personal and financial information.

          14.   Plaintiff brings this action on behalf of all persons whose Private Information was

compromised as a result of Defendant’s failure to: (i) adequately protect the Private Information

of Plaintiff and Class Members; (ii) warn Plaintiff and Class Members of Defendant’s inadequate

information security practices; (iii) effectively secure hardware containing protected Private

Information using reasonable and adequate security procedures free of vulnerabilities and

incidents; and (iv) timely notify Plaintiff and Class Members of the Data Breach.

          15.   Plaintiff brings this action individually and on behalf of a Nationwide Class of

similarly situated individuals against Defendant for: negligence; negligence per se; unjust

enrichment, breach of implied contract, and breach of confidence.

          16.   Plaintiff seeks to remedy these harms and prevent any future data compromise on

behalf of herself and all similarly situated persons whose personal data was compromised and

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stolen as a result of the Data Breach and who remain at risk due to Defendant’s inadequate data

security practices.

                                              PARTIES

  Plaintiff

          17. Plaintiff Sophia Grubb is a citizen and resident of Harrisburg, Pennsylvania.

  Defendant

        18.     Defendant is a corporation organized under the state laws of Delaware with its

principal place of business located at 3 Parkway North, Suite 500, Deerfield, Illinois, 60015.

                                  JURISDICTION AND VENUE

        19.      This Court has jurisdiction over this action under the Class Action Fairness Act,

28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of interest and

costs. The number of class members is more than 100 and at least one member of the Class defined

below is a citizen of a different state that is diverse from Defendant’s citizenship. Thus, minimal

diversity exists under 28 U.S.C. § 1332 (d) (2) (A). Defendant has its principal place of business

located in this District.

        20.     This Court has personal jurisdiction over Defendant because Defendant is

registered to do business and maintains its principal place of business in this District.

        21.     Venue is proper in this Court because Defendant’s principal place of business is

located in this District, and because a substantial part of the events, acts, and omissions giving

rise to Plaintiff’s claims occurred in this District.

                                   FACTUAL ALLEGATIONS

    A. Background on Defendant

        22.     Defendant is a national insurance and financial services firm that provides

solutions in employee benefits, property and casualty insurance, retirement plan services, and

wealth management.




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        23.      Defendant Andy Frain Services, Inc. is a company that provides security and event

staffing solutions.

        24.      Upon information and belief, Defendant made promises and representations to

individuals’, including Plaintiff and Class Members, that the Private Information collected from

them would be kept safe and confidential, and that the privacy of that information would be

maintained.

        25.      Plaintiff and Class Members provided their Private Information to Defendant with

the reasonable expectation and on the mutual understanding that Defendant would comply with

its obligations to keep such information confidential and secure from unauthorized access.

        26.      As a result of collecting and storing the Private Information of Plaintiff and Class

Members for its own financial benefit, Defendant had a continuous duty to adopt and employ

reasonable measures to protect Plaintiff’s and the Class Members’ Private Information from

disclosure to third parties.

    B. The Data Breach

        27.      In August 2024, Defendant detected unusual activity on its IT
Network.7 In response, Defendant launched an investigation to determine the nature
and scope of the Data Breach.8
        28.      Defendant’s investigation determined that between July 19, 2024, and
August 4, 2024, Private Information contained on its IT Network was removed.9
        29.      Upon information and belief, Defendant’s investigation determined that the

Private Information compromised in the Data Breach included: name, date of birth, and Social

Security number.10




7
  Exhibit 1: Sophia Grubb’s Notice Email.
8
  Id.
9
  Id.
10
   Id.


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            30.   On May 22, 2025, Defendant made a public disclosure about the Data Breach and

began sending notice emails to individuals impacted. 11

            31.   Defendant failed to take precautions designed to keep individuals’ Private

Information secure.

            32.   While Defendant sought to minimize the damage caused by the Data Breach, it

cannot and has not denied that there was unauthorized access to the sensitive Private Information

of Plaintiff and Class Members.

            33.   Individuals affected by the Data Breach are, and remain, at risk that their data will

be sold or listed on the dark web and, ultimately, illegally used in the future.

       C. Defendant’s Failure to Prevent, Identify, and Timely Report the Data Breach

            34.   Defendant admits that an unauthorized third party accessed its IT Network.

Defendant failed to take adequate measures to protect its computer systems against unauthorized

access.

            35.   The Private Information that Defendant allowed to be exposed in the Data Breach

is the type of private information that Defendant knew or should have known would be the target

of cyberattacks.

            36.   Despite its own knowledge of the inherent risks of cyberattacks, and

notwithstanding the FTC’s data security principles and practices, 12 Defendant failed to disclose

that its systems and security practices were inadequate to reasonably safeguard its past and present

clients or customers Private Information.

            37.   The FTC directs businesses to use an intrusion detection system to expose a breach

as soon as it occurs, monitor activity for attempted hacks, and have an immediate response plan




11
     Id.
12
    Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N (Oct. 2016),
https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business. (last visited May
22, 2025).


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if a breach occurs.13 Immediate notification of a Data Breach is critical so that those impacted can

take measures to protect themselves.

        38.      Here, Defendant waited for almost nine months after being made aware of the Data

Breach to notify impacted individuals.

     D. The Harm Caused by the Data Breach Now and Going Forward

        39.      Victims of data breaches are susceptible to becoming victims of identity theft. The

FTC defines identity theft as “a fraud committed or attempted using the identifying information

of another person without authority.” 17 C.F.R. § 248.201(9). When “identity thieves have your

personal information, they can drain your bank account, run up charges on your credit cards, open

new utility accounts, or get medical treatment on your health insurance.” 14

        40.      The type of data that may have been accessed and compromised here can be used

to perpetrate fraud and identity theft.

        41.      Plaintiff and Class Members face a substantial risk of identity theft given that their

Private Information was compromised in the Data Breach.

        42.      Stolen Private Information is often trafficked on the “dark web,” a heavily

encrypted part of the Internet that is not accessible via traditional search engines. Law

enforcement has difficulty policing the “dark web” due to this encryption, which allows users and

criminals to conceal their identities and online activity.

        43.      When malicious actors infiltrate companies and copy and exfiltrate the Private

Information that those companies store, the stolen information often ends up on the dark web

where malicious actors buy and sell that information for profit. 15

        44.      For example, when the U.S. Department of Justice announced their seizure of

AlphaBay—the largest online “dark market”—in 2017, AlphaBay had more than 350,000 listings,



13
   Id.
14
   Prevention and Preparedness, New York State Police, https://troopers.ny.gov/prevention-and-preparedness (last
visited May 22, 2025).
15
      Shining a Light on the Dark Web with Identity Monitoring, IDENTITYFORCE (Dec. 28,
2020) https://www.identityforce.com/blog/shining-light-dark-web-identity-monitoring (last visited May 22, 2025).


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many of which concerned stolen or fraudulent documents that could be used to assume another

person’s identity.”16 Marketplaces similar to the now-defunct AlphaBay continue to be “awash

with [PII] belonging to victims from countries all over the world.” 17

        45.      PII remains of high value to criminals, as evidenced by the prices they will pay

through the dark web. Numerous sources cite dark web pricing for stolen identity credentials. For

example, personal information can be sold at a price ranging from $40 to $200, and bank details

have a price range of $50 to $200.18 Criminals can also purchase access to entire company data

breaches from $900 to $4,500.19

        46.      According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet

Crime Report, Internet-enabled crimes reached their highest number of complaints and dollar

losses in 2019, resulting in more than $3.5 billion in losses to individuals and business victims. 20

        47.      Further, according to the same report, “rapid reporting can help law enforcement

stop fraudulent transactions before a victim loses the money for good.” 21 Defendant did not

rapidly report to Plaintiff and Class Members that their Private Information had been stolen.

Defendant notified impacted people after almost a year after learning of the Data Breach.

        48.      As a result of the Data Breach, the Private Information of Plaintiff and Class

Members has been exposed to criminals for misuse. The injuries suffered by Plaintiff and Class

Members, or likely to be suffered as a direct result of Defendant’s Data Breach, include: (a) theft

of their Private Information; (b) costs associated with the detection and prevention of identity



16
    Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web, ARMOR (April 3, 2018),
https://res.armor.com/resources/blog/stolen-pii-ramifications-identity-theft-fraud-dark-web/ (last visited May 22,
2025).
17
   Id.
18
   Id.
19
   Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015)
https://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-worrying-about-identity-
theft (last visited May 22, 2025).
20
   2019 Internet Crime Report Released, FBI (Feb. 11, 2020) https://www.fbi.gov/news/stories/2019-internet-crime-
report-released-
021120#:~:text=IC3%20received%20467%2C361%20complaints%20in,%2Ddelivery%20scams%2C%20and%20e
xtortion (last visited May 22, 2025).
21
   Id.


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theft; (c) costs associated with time spent and the loss of productivity from taking time to address

and attempt to ameliorate, mitigate, and deal with the consequences of this Breach; (d) invasion

of privacy; (e) the emotional distress, stress, nuisance, and annoyance of responding to, and

resulting from, the Data Breach; (f) the actual and/or imminent injury arising from actual and/or

potential fraud and identity theft resulting from their personal data being placed in the hands of

the ill-intentioned hackers and/or criminals; (g) damage to and diminution in value of their

personal data entrusted to Defendant with the mutual understanding that Defendant would

safeguard their Private Information against theft and not allow access to and misuse of their

personal data by any unauthorized third party; and (h) the continued risk to their Private

Information, which remains in the possession of Defendant, and which is subject to further

injurious breaches so long as Defendant fails to undertake appropriate and adequate measures to

protect Plaintiff’s and Class Members’ Private Information.

       49.     In addition to a remedy for economic harm, Plaintiff and Class Members maintain

an interest in ensuring that their Private Information is secure, remains secure, and is not subject

to further misappropriation and theft.

       50.     Defendant disregarded the rights of Plaintiff and Class Members by (a)

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable

measures to ensure that its network servers were protected against unauthorized intrusions; (b)

failing to disclose that it did not have adequately robust security protocols and training practices

in place to safeguard Plaintiff’s and Class Members’ Private Information; (c) failing to take

standard and reasonably available steps to prevent the Data Breach; (d) concealing the existence

and extent of the Data Breach for an unreasonable duration of time; and (e) failing to provide

Plaintiff and Class Members prompt and accurate notice of the Data Breach.

       51.     The actual and adverse effects to Plaintiff and Class Members, including the

imminent, immediate, and continuing increased risk of harm for identity theft, identity fraud

and/or medical fraud directly or proximately caused by Defendant’s wrongful actions and/or

inaction and the resulting Data Breach require Plaintiff and Class Members to take affirmative

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acts to recover their peace of mind and personal security including, without limitation, purchasing

credit reporting services, purchasing credit monitoring and/or internet monitoring services,

frequently obtaining, purchasing and reviewing credit reports, bank statements, and other similar

information, instituting and/or removing credit freezes and/or closing or modifying financial

accounts, for which there is a financial and temporal cost. Plaintiff and other Class Members have

suffered, and will continue to suffer, such damages for the foreseeable future.

Plaintiff Sophia Grubb’s Experience

       52.     Plaintiff is an employee of Defendant.

       53.     On May 22, 2025, Defendant sent Plaintiff a notice email informing her that her

Private Information was compromised in the Data Breach.

       54.     As a condition of obtaining employment services, Plaintiff was required to provide

Defendant with her Private Information—including name, Social Security number, date of birth,

and contact information.

       55.     Defendant was in possession of Plaintiff’s Private Information before, during and

after the Data Breach.

       56.     Plaintiff reasonably understood and expected that Defendant would safeguard her

Private Information and timely and adequately notify her in the event of a data breach. Plaintiff

would not have allowed Defendant, or anyone in Defendant’s position, to maintain her Private

Information if she believed that Defendant would fail to implement reasonable and industry

standard practices to safeguard that information from unauthorized access.

       57.     Plaintiff greatly values her privacy and Private Information and takes reasonable

steps to maintain the confidentiality of her Private Information. Plaintiff is very concerned about

identity theft and fraud, as well as the consequences of such identity theft and fraud resulting from

the Data Breach.

       58.     Plaintiff stores any and all documents containing Private Information in a secure

location and destroys any documents she receives in the mail that contain any Private Information



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or that may contain any information that could otherwise be used to compromise her identity and

credit card accounts.

       59.     Moreover, she diligently chooses unique usernames and passwords for her various

online accounts.

       60.     As a result of the Data Breach, Plaintiff has spent several hours researching the

Data Breach, reviewing her bank accounts, monitoring her credit report, changing her passwords

and other necessary mitigation efforts. This is valuable time that Plaintiff spent at Defendant’s

direction and that she otherwise would have spent on other activities, including but not limited to

work and/or recreation.

       61.     As a consequence of and following the Data Breach, Plaintiff has experienced an

uptick in spam calls, text messages, and emails.

       62.     The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which has

been compounded by Defendant’s delay in noticing her of the fact that her Social Security number

in conjunction with her date of birth was acquired by criminals as a result of the Data Breach.

       63.     Plaintiff anticipates spending considerable time and money on an ongoing basis to

try to mitigate and address harms caused by the Data Breach. In addition, Plaintiff will continue

to be at present and continued increased risk of identity theft and fraud for years to come.

       64.     Plaintiff has a continuing interest in ensuring that her Private Information, which

upon information and belief, remains in Defendant’s possession, is protected and safeguarded

from future breaches.

       65.     As a direct and traceable result of the Data Breach, Plaintiff suffered actual injury

and damages after her Private Information was compromised and stolen in the Data Breach,

including, but not limited to: (a) lost time and money related to monitoring her accounts and credit

reports for fraudulent activity; (b) loss of privacy due to her Private Information being accessed

and stolen by cybercriminals; (c) loss of the benefit of the bargain because Defendant did not

adequately protect her Private Information; (d) emotional distress because identity thieves now

possess her first and last name paired with her Social Security number and other sensitive

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information; (e) imminent and impending injury arising from the increased risk of fraud and

identity theft now that her Private Information has been stolen and likely published on the dark

web; (f) diminution in the value of her Private Information, a form of intangible property that

Defendant obtained from Plaintiff and (g) other economic and non-economic harm.

                                      CLASS ALLEGATIONS

        66.     Plaintiff brings this class action, individually and on behalf of the following

Nationwide Class:

        All persons in the United States who were impacted by the Data Breach
        publicly announced by Defendant in May 2025 (the “Class”).


        67.     Specifically excluded from the Class are Defendant, its officers, directors, agents,

trustees, parents, children, corporations, trusts, representatives, principals, servants, partners, joint

venturers, or entities controlled by Defendant, and its heirs, successors, assigns, or other persons

or entities related to or affiliated with Defendant and/or its officers and/or directors, the judge

assigned to this action, and any member of the judge’s immediate family.

        68.     Plaintiff reserves the right to amend the Class definitions above if further

investigation and/or discovery reveals that the Class should be expanded, narrowed, divided into

subclasses, or otherwise modified in any way.

        69.     This action may be certified as a class action because it satisfies the numerosity,

commonality, typicality, adequacy, and superiority requirements therein.

        70.     Numerosity: The Class is so numerous that joinder of all Class Members is

impracticable. Although the precise number of such persons is unknown, and the facts are

presently within the sole knowledge of Defendant, upon information and belief, Plaintiff estimates

that the Class is comprised of thousands of Class Members, if not more. The Class is sufficiently

numerous to warrant certification.

        71.     Typicality of Claims: Plaintiff’s claims are typical of those of other Class Members

because Plaintiff, like the unnamed Class, had her Private Information compromised as a result



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of the Data Breach. Plaintiff is a member of the Class, and her claims are typical of the claims of

the members of the Class. The harm suffered by Plaintiff is similar to that suffered by all other

Class Members which was caused by the same misconduct by Defendant.

        72.     Adequacy of Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class. Plaintiff has no interests antagonistic to, nor in conflict with, the

Class. Plaintiff has retained competent counsel who are experienced in consumer and commercial

class action litigation and who will prosecute this action vigorously.

        73.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy. Because the monetary damages suffered by individual

Class Members are relatively small, the expense and burden of individual litigation make it

impossible for individual Class Members to seek redress for the wrongful conduct asserted herein.

If Class treatment of these claims is not available, Defendant will likely continue its wrongful

conduct, will unjustly retain improperly obtained revenues, or will otherwise escape liability for

its wrongdoing as asserted herein.

        74.     Predominant Common Questions: The claims of all Class Members present

common questions of law or fact, which predominate over any questions affecting only individual

Class Members, including:

                a. Whether Defendant failed to implement and maintain reasonable
                   security procedures and practices appropriate to the nature and scope of
                   the information compromised in the Data Breach;

                b. Whether Defendant’s data security systems prior to and during the Data
                   Breach complied with applicable data security laws and regulations;

                c. Whether Defendant’s storage of Plaintiff’s and Class Member’s Private
                   Information was done in a negligent manner;

                d. Whether Defendant had a duty to protect and safeguard Plaintiff’s and
                   Class Members’ Private Information;

                e. Whether Defendant’s conduct was negligent;

                f. Whether Defendant’s conduct violated Plaintiff’s and Class Members’
                   privacy;



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                g. Whether Defendant took sufficient steps to individuals’ Private
                   Information;

                h. Whether Defendant was unjustly enriched; and

                i. The nature of relief, including damages and equitable relief, to which Plaintiff
                   and Class Members are entitled.

         75.    Information concerning Defendant’s policies is available from Defendant’s

records.

         76.    Plaintiff knows of no difficulty which will be encountered in the management of

this litigation which would preclude its maintenance as a class action.

         77.    The prosecution of separate actions by individual members of the Class would run

the risk of inconsistent or varying adjudications and establish incompatible standards of conduct

for Defendant. Prosecution as a class action will eliminate the possibility of repetitious and

inefficient litigation.

         78.    Given that Defendant has not indicated any changes to its conduct or security

measures, monetary damages are insufficient and there is no complete and adequate remedy at

law.
                                    CAUSES OF ACTION
                                           COUNT I
                                        NEGLIGENCE
                              (On Behalf of Plaintiff and the Class)

         79.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above in paragraphs 1 through 78 as though fully set forth herein.

         80.    Plaintiff brings this claim individually and on behalf of the Class Members.

         81.    Defendant knowingly collected, came into possession of, and maintained

Plaintiff’s and Class Members’ Private Information, and had a duty to exercise reasonable care in

safeguarding, securing, and protecting such information from being compromised, lost, stolen,

misused, and/or disclosed to unauthorized parties.

         82.    Defendant had a duty to have procedures in place to detect and prevent the loss or

unauthorized dissemination of Plaintiff’s and Class Members’ Private Information.


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       83.     Defendant had, and continues to have, a duty to timely disclose that Plaintiff’s and

Class Members’ Private Information within its possession was compromised and precisely the

types of information that were compromised.

       84.     Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards, applicable standards of care from statutory authority

like Section 5 of the FTC Act, and other requirements discussed herein, and to ensure that its

systems and networks, and the personnel responsible for them, adequately protected individuals’

Private Information.

       85.     Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and its clients or customers. Defendant

was in a position to ensure that its systems were sufficient to protect against the foreseeable risk

of harm to Plaintiff and Class Members from a data breach.

       86.     Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information.

       87.     Defendant breached these duties by failing to exercise reasonable care in

safeguarding and protecting Plaintiff’s and Class Members’ Private Information.

       88.     The specific negligent acts and omissions committed by Defendant include, but

are not limited to, the following:

               a. Failing to adopt, implement, and maintain adequate security measures
                  to safeguard Plaintiff’s and Class Members’ Private Information;

               b. Failing to adequately monitor the security of its networks and systems;
                  and

               c. Failing to periodically ensure that its computer systems and networks
                  had plans in place to maintain reasonable data security safeguards.




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       89.     Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and Class Members by failing to exercise reasonable care in protecting and safeguarding

Plaintiff’s and Class Members’ Private Information within Defendant’s possession.

       90.     Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and Class Members by failing to have appropriate procedures in place to detect and

prevent dissemination of Plaintiff’s and Class Members’ Private Information.

       91.     Defendant, through its actions and/or omissions, unlawfully breached its duty to

timely disclose to Plaintiff and Class Members that the Private Information within Defendant’s

possession might have been compromised and precisely the type of information compromised.

       92.     Defendant breached the duties set forth in 15 U.S.C. § 45, the FTC guidelines, the

National Institute of Standards and Technology’s Framework for Improving Critical

Infrastructure Cybersecurity, and other industry guidelines. In violation of 15 U.S.C. § 45,

Defendant failed to implement proper data security procedures to adequately and reasonably

protect Plaintiff’s and Class Members’ Private Information. In violation of the FTC guidelines,

inter alia, Defendant did not protect the Private Information it keeps; failed to properly dispose

of personal information that was no longer needed; failed to encrypt information stored on

computer networks; lacked the requisite understanding of its networks’ vulnerabilities; and failed

to implement policies to correct security issues.

       93.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

Plaintiff’s and Class Members’ Private Information would result in injury to Plaintiff and Class

Members. Further, the breach of security was reasonably foreseeable given the known high

frequency of cyberattacks and data breaches.

       94.     It was foreseeable that the failure to adequately safeguard Plaintiff’s and Class

Members’ Private Information would result in injuries to Plaintiff and Class Members.

       95.     Defendant’s breach of duties owed to Plaintiff and Class Members caused

Plaintiff’s and Class Members’ Private Information to be compromised.



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        96.    But for Defendant’s negligent conduct and breach of the above-described duties

owed to Plaintiff and Class Members, their Private Information would not have been

compromised.

        97.    As a result of Defendant’s failure to timely notify Plaintiff and Class Members that

their Private Information had been compromised, Plaintiff and Class Members are unable to take

the necessary precautions to mitigate damages by preventing future fraud.

        98.    As a result of Defendant’s negligence and breach of duties, Plaintiff and Class

Members are in danger of imminent harm in that their Private Information, which is still in the

possession of third parties, will be used for fraudulent purposes, and Plaintiff and Class Members

have and will suffer damages including: a substantial increase in the likelihood of identity theft;

the compromise, publication, and theft of their personal information; loss of time and costs

associated with the prevention, detection, and recovery from unauthorized use of their personal

information; the continued risk to their personal information; future costs in terms of time, effort,

and money that will be required to prevent, detect, and repair the impact of the personal

information compromised as a result of the Data Breach; and overpayment for the services or

products that were received without adequate data security.
                                          COUNT II
                                   NEGLIGENCE PER SE
                              (On Behalf of Plaintiff and the Class)
        99.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above in paragraphs 1 through 78 as though fully set forth herein.

        100.   Section 5 of the FTC Act, 15 U.S.C. 45, prohibits “unfair . . . practices in or

affecting commerce” including, as interpreted and enforced by the FTC, the unfair act or practice

by Defendant of failing to use reasonable measures to protect Plaintiff’s and Class Members’

Private Information. Various FTC publications and orders also form the basis of Defendant’s

duty.




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       101.    Defendant violated Section 5 of the FTC Act (and similar state statutes) by failing

to use reasonable measures to protect Plaintiff’s and Class Members’ Private Information and by

failing to comply with industry standards.

       102.    Defendant’s conduct was particularly unreasonable given the nature and amount

of Private Information obtained and stored and the foreseeable consequences of a data breach on

Defendant’s systems.

       103.    Class Members are consumers within the class of persons Section 5 of the FTC

Act (and similar state statutes) were intended to protect.

       104.    Moreover, the harm that has occurred is the type of harm the FTC Act (and similar

state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty enforcement

actions against businesses which, as a result of their failure to employ reasonable data security

measures and avoid unfair and deceptive practices, caused the same harm suffered by Plaintiff

and Class Members.

       105.    As a result of Defendant’s negligence per se, Plaintiff and Class Members have

been harmed and have suffered damages including, but not limited to: damages arising from

identity theft and fraud; out-of-pocket expenses associated with procuring identity protection and

restoration services; increased risk of future identity theft and fraud, and the costs associated

therewith; and time spent monitoring, addressing, and correcting the current and future

consequences of the Data Breach.

                                          COUNT III
                                   UNJUST ENRICHMENT
                              (On Behalf of Plaintiff and the Class)
       106.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above in paragraphs 1 through 78 as though fully set forth herein.

       107.    Plaintiff and Class Members conferred a benefit upon Defendant by providing

Defendant with their Private Information.




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       108.    Defendant appreciated or had knowledge of the benefits conferred upon itself by

Plaintiff. Defendant also benefited from the receipt of Plaintiff’s and Class Members’ Private

Information.

       109.    Under principles of equity and good conscience, Defendant should not be

permitted to retain the full value of Plaintiff’s and the Class Members’ Private Information

because Defendant failed to adequately protect their Private Information. Plaintiff and the

proposed Class would not have provided their Private Information to Defendant had they known

Defendant would not adequately protect their Private Information.

       110.    Defendant should be compelled to disgorge into a common fund for the benefit of

Plaintiff and Class Members all unlawful or inequitable proceeds received by it because of its

misconduct and the Data Breach it caused.

                                         COUNT IV
                            BREACH OF IMPLIED CONTRACT
                             (On Behalf of Plaintiff and the Class)
       111.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above in paragraphs 1 through 78 as though fully set forth herein.

       112.    Plaintiff and the Class provided and entrusted their Private Information to

Defendant. Plaintiff and the Class provided their Private Information to Defendant as part of

Defendant’s regular business practices.

       113.    In so doing, Plaintiff and the Class entered into implied contracts with Defendant

by which Defendant agreed to safeguard and protect such information, to keep such information

secure and confidential, and to timely and accurately notify Plaintiff and the Class if their data

had been breached and compromised or stolen, in return for the business services provided by

Defendant. Implied in these exchanges was a promise by Defendant to ensure that the Private

Information of Plaintiff and Class Members in its possession was secure.

       114.    Pursuant to these implied contracts, Plaintiff and Class Members provided

Defendant with their Private Information. In exchange, Defendant agreed to, among other things,

and Plaintiff and the Class understood that Defendant would: (1) provide services to Plaintiff sand

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Class Members’; (2) take reasonable measures to protect the security and confidentiality of

Plaintiff and Class Members’ Private Information; and (3) protect Plaintiff and Class Members’

Private Information in compliance with federal and state laws and regulations and industry

standards.

           115.   Implied in these exchanges was a promise by Defendant to ensure the Private

Information of Plaintiff and Class Members in its possession was only used to provide the agreed-

upon reasons, and that Defendant would take adequate measures to protect Plaintiff and Class

Members’ Private Information.

           116.   A material term of this contract is a covenant by Defendant that it would take

reasonable efforts to safeguard that information. Defendant breached this covenant by allowing

Plaintiff and Class Members’ Private Information to be accessed in the Data Breach.

           117.   Indeed, implicit in the agreement between Defendant and Plaintiff and Class

Members was the obligation that both parties would maintain information confidentially and

securely.

           118.   These exchanges constituted an agreement and meeting of the minds between the

parties.

           119.   When the parties entered into an agreement, mutual assent occurred. Plaintiff and

Class Members would not have disclosed their Private Information to Defendant but for the

prospect of utilizing Defendant services. Conversely, Defendant presumably would not have

taken Plaintiff and Class Members’ Private Information if it did not intend to provide Plaintiff

and Class Members with its services.

           120.   Defendant was therefore required to reasonably safeguard and protect the Private

Information of Plaintiff and Class Members from unauthorized disclosure and use.

           121.   Plaintiff and Class Members would not have entrusted their Private Information to

Defendant in the absence of their implied contracts with Defendant and would have instead

retained the opportunity to control their Private Information.



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           122.   Defendant breached the implied contracts with Plaintiff and Class Members by

failing to reasonably safeguard and protect Plaintiff and Class Members’ Private Information.

           123.   Defendant’s failure to implement adequate measures to protect the Private

Information of Plaintiff and Class Members violated the purpose of the agreement between the

parties.

           124.   As a proximate and direct result of Defendant’s breaches of its implied contracts

with Plaintiff and Class Members, Plaintiff and the Class Members suffered damages as described

in detail above.
                                             COUNT V
                                  BREACH OF CONFIDENCE
                               (On Behalf of Plaintiff and the Class)
           125.   Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above in paragraphs 1 through 78 as though fully set forth herein.

           126.   At all times during Plaintiff’s and Class Members’ interactions with Defendant,

Defendant was fully aware of the confidential and sensitive nature of Plaintiff’s and Class

Members’ Private Information that Plaintiff and Class Members entrusted to Defendant.

           127.   As alleged herein and above, Defendant’s relationship with Plaintiff and the Class

was governed by terms and expectations that Plaintiff’s and the Class Members’ Private

Information would be collected, stored, and protected in confidence, and would not be disclosed

to unauthorized third parties.

           128.   Plaintiff and the Class entrusted Defendant with their Private Information with the

explicit and implicit understandings that Defendant would protect and not permit the Private

Information to be disseminated to any unauthorized third parties.

           129.   Plaintiff and the Class also entrusted Defendant with their Private Information with

the explicit and implicit understanding that Defendant would take precautions to protect that

Private Information from unauthorized disclosure.




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       130.    Defendant voluntarily received Plaintiff’s and Class Members’ Private

Information in confidence with the understanding that their Private Information would not be

disclosed or disseminated to the public or any unauthorized third parties.

       131.    As a result of Defendant’s failure to prevent and avoid the Data Breach from

occurring, Plaintiff’s and Class Members’ Private Information was disclosed and misappropriated

to unauthorized third parties beyond Plaintiff’s and Class Members’ confidence, and without their

express permission.

       132.    As a direct and proximate cause of Defendant’s actions and omissions, Plaintiff

and the Class have suffered damages.

       133.    But for Defendant’s disclosure of Plaintiff’s and Class Members’ Private

Information in violation of the parties’ understanding of confidence, their Private Information

would not have been compromised, stolen, viewed, accessed, and used by unauthorized third

parties. Defendant’s Data Breach was the direct and legal cause of the theft of Plaintiff’s and

Class Members’ Private Information as well as the resulting damages.

       134.    The injury and harm Plaintiff and the Class suffered was the reasonably

foreseeable result of Defendant’s unauthorized disclosure of Plaintiff’s and Class Members’

Private Information. Defendant knew or should have known its methods of accepting and securing

Plaintiff’s and Class Members’ Private Information was inadequate as it relates to, at the very

least, securing servers and other equipment containing Plaintiff’s and Class Members’ Private

Information.

       135.    As a direct and proximate result of Defendant’s breach of its confidence with

Plaintiff and the Class, Plaintiff and the Class have suffered and will suffer injury, including but

not limited to: (i) identity theft; (ii) the loss of the opportunity how their Private Information is

used; (iii) the compromise, publication, and/or theft of their Private Information; (iv) out-of-

pocket expenses associated with the prevention, detection, and recovery from identity theft, tax

fraud, and/or unauthorized use of their Private Information; (v) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the actual

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present and future consequences of the Data Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from tax fraud and identity theft; (vi)

costs associated with placing freezes on credit reports; (vii) the continued risk to their Private

Information, which remain in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information of individuals; and (viii) present and future costs in terms of time, effort,

and money that will be expended to prevent, detect, contest, and repair the impact of the Private

Information compromised as a result of the Data Breach for the remainder of the lives of Plaintiff

and Class Members.

       136.    As a direct and proximate result of Defendant’s breaches of confidence, Plaintiff

and the Class Members have suffered and will continue to suffer other forms of injury and/or

harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

economic and non-economic losses.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

       (a)    For an order determining that this action is properly brought as a class action and

              certifying Plaintiff as the representative of the Class and her counsel as Class

              Counsel;

       (b)    For an order declaring that Defendant’s conduct violates the laws referenced

              herein;

       (c)    For an order finding in favor of Plaintiff and the Class on all counts asserted herein;

       (d)    For damages in amounts to be determined by the Court and/or jury;

       (e)    For an award of statutory damages or penalties to the extent available;

       (f)    For pre-judgment interest on all amounts awarded;

       (g)    For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

       (h)    For an order of restitution and all other forms of monetary relief; and

       (i)    Such other and further relief as the Court deems necessary and appropriate.

                                 JURY TRIAL DEMANDED

       Plaintiff demands a trial by jury of all claims in this Class Action Complaint so triable.

       Dated: May 23, 2025                    Respectfully,

                                             By: /s/ Gary M. Klinger
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